        Case 4:05-cr-00059-JRH-CLR Document 921 Filed 04/30/07 Page 1 of 1



      UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF GEORGIA
           SAVANNAH DIVISIO N

UNITED STATE S

V . 405CRO59

MARTIN J . BRADLEY III, et al .

                    ORDE R


  The Court DENIES defendant Albert
Tellechea's motion for bond pending appeal .
Doc, #911 .

  This-'day of April, 2007.




B . AVA EDE    L D JUDG E
UNITED STATE ISTRICT COURT
SOUTHERN DI RICT OF GEORGIA
